Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.349 Filed 03/02/11 Page 1 of 16

CHARLES SHAW
DEPOSITION TRANSCRIPT
Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.350 Filed 03/02/11 Page 2 of 16

Page l

STATE OF MICHIGAN
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

MICHAEL DUPREE, JR., a Colorado Resident,
MICHAEL DUPREE, SR. and DARLENE DUPREE,
his parents, Residents of the Country of Austria,

Plaintiffs:

-vVs-~ Case No. 20130-CV-120940-LPZ-MKM
Hon. Laurence Zatkoff
Mag. Mona K. Majzoub
CRANBROOK EDUCATIONAL
COMMUNITY, JOHN J. WINTER and
CHARLES SHAW,

EAS Ea a om ee aoa Ree

Defendants:

/

The deposition of CHARLES SHAW, taken before

Lisa M. Fix, a Certified Shorthand Reporter and Notary

Public for the County of Wayne, State of Michigan, at
38500 Woodward, Suite 100, Bloomfield Hills, Michigan,
on Thursday, the 13th Day of January, 2011, at 12:35
p.m.

APPEARANCES:
THOMAS, GARVEY, GARVEY & SCIOTTI
ATTORNEYS AT LAW
24825 Little Mack
St. Clair Shores, Michigan 40808
By: CHRISTOPHER SCIOTTI, ESQ.
Appearing on behalf of the Plaintiff:

HONIGMAN, MILLER, SCHWARTZ & COHN

ATTORNEYS AT LAW

660 Woodward, Suite 2290

Detroit, Michigan 48226

By: RUSSELL S. LINDEN, ESQ.
Appearing on behalf of the Defendant:

ALSO PRESENT: John Winter

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.351 Filed 03/02/11 Page 3 of 16

A Sure. That would be a Bachelor's degree from
Trinity College in Hartford, Connecticut, anda
Master's degree from Middlebury College.

Q And what has your employment history been with
Cranbrook?

A I was employed in the fall of 1976, so this is
year 35.

Q And can you tell me the position that you've held
at Cranbrook?

A I was a teacher until 1995. I became the Dean of
faculty in 1995 to 2003. And the head of the
upper school in 2003.

Q Okay. Amd what were your job duties as head of
faculty from 1995 to 2003?

A The Dean of faculty oversees all the evaluation
systems, oversees professional development, the
implementation of job description, and performance
of duties.

Q So you are -- you are reviewing faculty members,
essentially?

A That is correct.

QO And then in 2003 you became --

A The head of the upper school. That would be the
fall of 2003.

QO Now, between 1995 and 2003, before you became head

Page 4

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.352 Filed 03/02/11 Page 4 of 16

Page 19
1 MR. LINDEN: And when we added
2 them are we going in sequential order where we
3 left off in Seibert's?
4 MR. SCIOTTI: Yes. Yes.
5 MR. LINDEN: Okay.
6 MR. SCIOTTI: I added 10, 11,
7 and 12.
8 Q (Continuing by Mr. Sciotti) We were talking about
9 the differences, if any, between the definition of
10 dismissal in the Tuition Refund Program, which I ;
11 believe is Exhibit Number 4-in front of you, and
12 the definition in the 2003, 2004 handbook, which
13 I'm handing you is marked Exhibit 12. And are
14 there, in your opinion, are there any differences?
15 A Well, this is a commercial firm definition that's
16 imported from a company, and this is a definition
17 -- this is not a definition.
ig Q Okay. What's the standard at Cranbrook to dismiss ,
19 a student?
20 A A pattern of violations of school rules.
21 Q Okay. Now, what were the reasons that Michael

22 Dupree, Jr. was dismissed?

23 A A pattern of violations of major school rules.
24 QO And what were those? What was that pattern?

25 A Well, um, a pattern was the combination of two

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.353 Filed 03/02/11 Page 5 of 16

Page 20

24

25

major school rule violations.

And what were those two major school rule
violations?

The possession of a marijuana pipe, and the
violation of a Technology Use Policy.

Okay. Now, about the marijuana pipe, and we're
going to get into that in a little bit. When you
call it a marijuana pipe, did you see it? Did you
see the pipe?

Yes.

And why do you refer to it as a marijuana pipe as
opposed to put any substance in there I guess to

smoke?

I suppose you could smoke tobacco in it.

So if he had a tobacco pipe would it have been a
major school violation?

Yes.

What's the standard to determine whether a student
has violated a major rule policy or a pattern of
violations? I mean who determines that?

The handbook. Set forth in the handbook.

Okay. And as far as dismissal is concerned,
what's the standard for dismissal? I'm trying to
get an idea, is there a vote, or do you determine

whether --

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.354 Filed 03/02/11 Page 6 of 16

FPO Fr Oo FB

Oo fF ©

Page 21

It's a pattern of violations of major school
rules.

And who determines that the pattern was violated?
Well, the rules are set forth in the handbook, and
then through a conduct review process violations
are determined, and then the Conduct Review Board
makes recommendations.

I guess what I'm asking is through the Conduct
Review Board what's the -- what's the proof? I
mean if there's just -- I'm just going to give you
kind of a rule or a proof. If there's just a tiny
bit of evidence, or does it have to be a hundred
percent certain? Us lawyers, we use, you heard
beyond a reasonable doubt.

Right.

More likely than not. I mean is there a burden of
proof --

No.

-- that has to be met?

No, it's not a judicial proceeding.

Okay.

It's not a legal proceeding.

So --

We proceed on what we know to be the truth.

Right. Well, it's not always, and we can get back

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.355 Filed 03/02/11 Page 7 of 16

Page 24
school.
And where do you find that rule?
Um, that rule is in the handbook.
Okay. Is there some kind of timetable when a
student can be dismissed prior to receiving a
diploma?
Well, a student is subject to dismissal until the
time -- until the award of the diplomas.
So if the faculty meets before graduation and
votes to award a student a dipioma, can that
dipioma be revoked by dismissal after that?
Yes.
And who would make that decision?
The head of the upper school, with the director of

schools.

So you ~~ in this case you and Miss Seibert could

make that decision?

There would be a Conduct Review Board prior to

that. But there are 24 hours between the voting

of the diplomas.

Okay. Mr. Dupree's -- the faculty did not vote on

Mr. Dupree, Jr.'s diploma; is that correct?

That is correct.

And the reason was he had already been dismissed?

Correct.

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.356 Filed 03/02/11 Page 8 of 16

24

25

ee

1 PO YP 0

Page 25
Could you look at Deposition Exhibit Number 1?
I'm looking at it, yes.
What is that?
These are the notes from the Conduct Review
Meeting for Michael.
Of March 11th?
March ilth, yes.
And Sharon Peacock made these notes?
That's correct.
Now, other than Deposition Exhibit Number 1 and
Deposition Exhibit Number 2 that you can look ‘at,

are there any other written --

No.

~~ evidence of -- |
MR. LINDEN: Let nim finish :

the question.
MR. SCIOTTI: Yeah.
MR. LINDEN: Let him finish

the question.

THE WITNESS:

(Continuing by Mr. Sciotti)

Sorry.

Is there any other

written evidence of that Conduct Review Board?

No.

Who's Eric L?

That would be Eric Linder,

I believe.

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.357 Filed 03/02/11 Page 9 of 16

24

25

BP 1 me 3

Okay.

The -- I remember it.

Okay.

In fact, strong recollection of it.

You do have an independent recollection of it?
Yes.

Tell me without looking at Exhibit 6, or feel free
to look at it, actually. What do you remember?
Of what in particular?

Just prior to this Conduct Review.

Well, I don't participate in the review.

I know that.

Okay.

But you said you had a recollection of it taking
place.

Yes. Yes.

So is your recollection of it taking place after
it took place, or did you have some knowledge that
it was going to take place?

Oh, I knew it was going to take place.

Okay. And how did you know that?

Well, we were made aware of it by IT that Michael
was in, that his computer files, his H. drive was
in receipt of files containing passwords.

Okay. And that's from Exhibit 7?

Page 36

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.358 Filed 03/02/11 Page 10 of 16

Oo Fr © FF

2

PO YF O

O°

Page 37
What do you mean by Exhibit 7?

I mean that's how you learned? That's how you
learned?

That is one of the ways in which we learned, yes.
Any other ways?

Well, we learned that students were looking at
tests that belonged to faculty members on their
computers.

Okay. And did you think Michael had any input
into that?

Into?

Allowing students to look at tests.

I don't know.

Okay. If you could look at Exhibit 6 again. And
look at both pages. There's -- I mean there's
writing on that page which I can read, and then
there's faint writing which appears to be ina
mirror almost that I really can't read. But I
think it might be -- where's the original?

As we speak here?

Yeah.

I couldn't tell you that.

But an original exists, or just a copy?

I couldn't tell you that.

Okay. I mean do you know why this ~~

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.359 Filed 03/02/11 Page 11 of 16

24

25

10 am 10 mB IO

Page 43]

decision.

So that is yes, you made the decision?

Yes.

Okay. Is that your decision alone?

In consultation with the deans.

Okay. And what were the -- from the Conduct
Review Board's -- or I guess from the deans
recommendations, what were the violations that you
felt warranted dismissal?

Michael was in receipt of a file of passwords and
log ins.

Was that the sole fact?

Yes.

Okay. Did you consider the fact that he gave his
password to Randy in September of '03 --

Yes.

-~- was that part of -- was that part you your
decision also?

That was part of the decision, yes.

So that what I'm trying to find out, were the
factors that led you to recommend dismissal after
he completed all of the academic requirements?
Yes, the fact that he gave a student his

password --

And <-

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.360 Filed 03/02/11 Page 12 of 16

Page 44

~~ is also part of that.

And did you know that he gave Randy his password
in September, and then Michael changed his
password?

I don't know that, no.

If you look on Exhibit 6, which I think is in

front of you. I think down about the middle of

the page, a little bit lower, it says, "a few days
after he gave," and I assume that's Randy, which
is blacked out, “his password, M.D.", which I
assume is Michael Dupree, “changed his password." |
Would that matter to you?

I don't -- I don't know that to be the case. This

is -- I don't know that to be the case, no.

Well, if it was the case would it have mattered to
you?

No.

And why not?

The violation was to give a password to another
student.

Okay. So what other factors? He had a file with |
student passwords? :
And he had given his password to another student.
And those were the two violations?

Yes.

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.361 Filed 03/02/11 Page 13 of 16

PO PF 0

And those were the two reasons for dismissal?
That's correct.

Did you consider any other punishment?

We talk about other -- we talk about all the
ranges, the whole range.

And what were the ranges?

Well, for this particular offense you're talking
about?

Yes.

Oh, there is no other -- let me back up and say
for this particular offense there is no other
alternative that I would be considering.

Okay. Would it have mattered to you whether
Michael knew that he had those other passwords on
his computer?

Would you repeat the question?

Page 45

Yeah. Would it matter to you, back in May or June

of '04, whether Michael had actual knowledge that

the passwords were on his computer?

MR. LINDEN: I guess I'm going

to object to the question on form, and it assumes

fact not in evidence, and it's a hypothetical.

Can you read back the question

so Mr. Shaw can answer the question, please?

(Whereupon the last question

Re ee ee TE MT ee ee ee ere ae

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.362 Filed 03/02/11 Page 14 of 16

24

25

Page 46
was read back.)
THE WITNESS: I can't answer
the question.
(Continuing by Mr. Sciotti} Was it enough for you
to dismiss him just to know those passwords were
on his computer?
No.
Okay. It didn't matter to you that he gave cut
his password in September and then changed it?
That's correct.
Okay. And it didn't matter to you that that
occurred before March of 2004?

Correct.

Were there any other factors that you considered
for his dismissal other than what we talked about?
The fact he was on probation.

Okay. Did you consider allowing him to obtain his

diploma and not participate in graduation?
No.
When deciding to dismiss Michael Dupree, Jr. from

Cranbrook knowing he had completed all of his

academic studies, what were you -- what were you.
attempting to accomplish? [
A student must be in good standing in order to

receive a dipioma.

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.363 Filed 03/02/11 Page 15 of 16

Page 31

1 A He was dismissed.
2 Q Okay. So tell me the reasons, then, it's a

3 correct transcript.

4 A It's correct.

5 Q Tell me the reasons it is, because the way I --

6 A It's consistent --

7 QO Go ahead.

8 A It's consistent with how we record the withdrawal

9 and dismissals of students. It's consistent with
10 how all students are processed at the time of --

11 Q So it doesn't matter whether a student withdrawals

12 or is dismissed, you're going to put --

13 A Correct.

14 Q -~ withdrawal, right?

15 A Correct.

16 Q And aren't you misleading colleges or anybody

17 that's looking at this?

18 A No.

19 Q You're not?

20 So when you send this to
21 Purdue are they going to assume that he was
22 dismissed?

23 A I don't know the answer to that question.

24 Qo You don't think this Exhibit Number 5 is at all

25 misleading?

Case 2:10-cv-12094-LPZ-MKM ECF No. 21-19, PagelD.364 Filed 03/02/11 Page 16 of 16

Page 54

extent we deem warranted.

So that's the reason that you -- I'm not following
you. Tell me why every student that's dismissed
for a conduct violation gets a withdrawal put on
their transcript instead of a dismissal.

Well, um, the reason for that is to provide
support to families who have the option to go
forward and get our support as a school, and give
our maximum resources to aid that student --

Give me an example.

-- and the family.

So that we can talk with a
college or university, and the college or
university is looking at a box that says
withdrawal, and that covers both families that
were dismissed and families who withdrew.

So in this case you dismissed Michael Dupree, Jr.,
but you put withdrawal on the transcript to
actually help him?

That is in this case, yes.

So how did you heip him?

We continued to advocate him for -- advocate for
him to gain admission to keep his admission in the
school.

Do you know where the transcripts -- his

